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 2                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 3                                   AT TACOMA

 4
      UNITED STATES OF AMERICA,
 5                                                 No. CR14-5159-BHS
                                     Plaintiff,
 6    v.
                                                   ORDER ALLOWING WITHDRAWAL
 7    FABIAN VALDOVINOS-PEREZ,                     AND SUBSTITUTION OF COUNSEL

 8                                   Defendant.

 9

10          THE COURT having reviewed the court file and the pleadings in this matter and

11   being fully apprised of the circumstances

12          IT IS HEREBY ORDERED THAT Erik L. Bauer is permitted to withdraw as

13   counsel for the defendant Fabian Valdovinos-Perez, and JOHN HENRY BROWNE of

14   the LAW OFFICES OF JOHN HENRY BROWNE, PS is substituted as counsel of record

     for defendant Fabian Valdovinos-Perez.
15
            DATED this 21st day of November, 2014.
16

17

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19
                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge
20
     Presented by:
21

22   s/ John Henry Browne
     JOHN HENRY BROWNE, WSBA #4677
23   Substituting Attorney for Fabian Valdovinos-Perez
24

     ORDER ALLOWING WITHDRAWAL AND                     LAW OFFICES OF JOHN HENRY BROWNE, P.S.
     SUBSTITUTION OF COUNSEL - 1                                         200 DELMAR BUILDING
                                                                   108 SOUTH WASHINGTON STREET
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